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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,              )
                                       )           8:99CR202
              Plaintiff,               )           8:10CR192
                                       )
   vs.                                 )                 ORDER
                                       )
TERRY MOUNTAIN,                        )
                                       )
              Defendant.               )


   The court has been presented a Financial Affidavit (CJA Form 23)
signed by the above-named defendant in support of a request for appointed
counsel.   After a review of the Financial Affidavit, I find that the
above-named defendant is eligible for appointment of counsel pursuant to
the Criminal Justice Act, 18 U.S.C. §3006A, and the Amended Criminal
Justice Act Plan for the District of Nebraska.
   IT IS ORDERED:

   Donald L. Schense is appointed to represent the above named defendant
in this matter and shall forthwith file an appearance in this matter.

   IT IS FURTHER ORDERED that the defendant shall make a partial payment
no later than June 9, 2010, of $250.00 in Case Number 8:99CR202 and
$250.00 in Case Number 8:10CR192, a reimbursement of fees to be expended
on his behalf pursuant to 18 U.S.C. 3006A(f). Said amount to be paid to
the Clerk of the Court for deposit in the Treasury.

   IT IS FURTHER ORDERED that the Clerk shall provide a copy of this
order to the Federal Public Defender and Donald L. Schense.

   DATED this 26th day of May, 2010.

                                       BY THE COURT:


                                       s/ Thomas D. Thalken
                                       United States Magistrate Judge
